
On Petition for Rehearing Granted.
PER CURIAM.
Upon petition for rehearing granted, and after oral argument, the court recedes from its former judgment of affirmance. After a re-examination of the amended complaint, the briefs, and applicable law, we conclude that the allegations of the amended complaint come within the exception noted in Addison v. Hook, 91 Fla. 337, 107 So. 623. Accordingly, the final judgment entered consequent upon the granting of appellee’s motion to dismiss is reversed and the cause remanded for further proceedings.
Reversed and remanded.
HORTON, C. J., CARROLL, CHAS., J., and ODOM, ARCHIE, M., Associate Judge, concur.
